Case 2:15-cv-01000-JRG-RSP Document 20 Filed 03/22/16 Page 1 of 1 PageID #: 71




                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,                 Civil Action No. 2:15-cv-998-JRG-JRP

                 v.                                   CONSOLIDATED LEAD CASE

 NVIDIA CORPORATION, et al.,

                        Defendants.

                                      ORDER OF DISMISSAL

        Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant

Samsung Electronics America, Inc.’s (“Defendant”) (collectively, the “Parties”), Joint Motion to

Dismiss.

        The Court, having considered the Parties’ Motion, finds that the Motion should be
.
GRANTED.

        IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this action

against Defendant are dismissed WITH prejudice.

        IT IS ORDERED, ADJUDGED, AND DECREED that Defendant’s counterclaims in this

action against Plaintiff are dismissed WITHOUT prejudice.

                IT IS FURTHER ORDERED that each party shall bear its own costs, expenses, and

all attorneys’ fees.

        SO ORDERED.
         SIGNED this 3rd day of January, 2012.
        SIGNED this 22nd day of March, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
